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                    UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


In re:                                 :
                                       :
Siamak Loghmani,                       :
                                       :                    Case No. 11-14389-BFK
                                       :                    Chapter 11
Debtor in Possession                   :
                                       :


                                             ORDER


         WHEREAS Aurora Loan Services/Deutsche Bank approved the Debtor for a loan

modification on his residence;

         WHEREAS the Debtor filed and served a Motion and Notice of Hearing for the court to

approve the loan modification; and

         WHEREAS no objection has been filed or noted and it otherwise appears just and proper to

do so;

NOW THEREFORE ADJUDGED ORDERED AND DECREED that the loan modification

between the Debtor and Aurora/Deutsche Bank is hereby APPROVED.



DATED:    Jul 19 2012                                                    /s/  Brian F. Kenney
                                                                         ___________________
                                                                          Judge Brian F. Kenney




                     July 20, 2012
Entered on Docket: _______________




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I ASK FOR THIS:

_/s/ Alfred P. Boland_______
Alfred P. Boland, VSB #31037
Counsel to Debtor
4000 Legato Road, Suite 1100
Fairfax, Virginia 22033
(703) 896-7678 (office)




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing proposed Order was sent by electronic
mail to Jack Frankel, Esquire, Trial Attorney, U.S. Trustee’s Office, Trustee, and to Stephen
Sherman, Esquire, Counsel to Aurora/Deutsche Bank on the 18th day of July, 2012.

                                                             _/s/ Alfred P. Boland___
                                                             Alfred P. Boland




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